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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   X

NICK ORAM, on behalf of him self and on
behalf of all other similarly situated persons,

                                      Plaintiff,

                   -against-

SOULCYCLE LLC, SOULCYCLE
HOLDINGS LLC, SOULCYCLE 384
LAFAYETTE STREET, LLC,
SOULCYCLE 350 AMSTERDAM, LLC,
SOULCYCLE 609 GREENWICH STREET,
LLC, SOULCYCLE BRIDGEHAMPTON,                          Civ. No.: 13-CV-2976(RWS)
LLC, SOULCYCLE EAST 18TH STREET,
LLC, SOULCYCLE EAST 63RD STREET,                       ECF Case
LLC, SOULCYCLE EAST HAMPTON,
LLC, SOULCYCLE ROSLYN LLC,
SOULCYCLE SCARSDALE LLC,
SOULCYCLE TRIBECA, LLC,
SOULCYCLE WEST 19TH STREET, LLC,
SOULCYCLE BRENTWOOD, LLC,
SOULCYCLE SANTA MONICA, LLC, and
SOULCYCLE WEST HOLLYWOOD, LLC,

                                   Defendants.

                                                   X


MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’ MOTION TO
 STRIKE PORTIONS OF PLAINTIFF’S AMENDED COMPLAINT PURSUANT TO
   FED. R. CIV. P. 12(F), TO SEVER PLAINTIFF’S CALIFORNIA CLAIMS AND
  PARTIES PURSUANT TO FED. R. CIV. P. 21 AND TO DISMISS PLAINTIFF’S
        AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)

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                                                                         William J. Anthony
                                                                             Joanna S. Smith

                                                           ATTORNEYS FOR DEFENDANTS
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                      Defendants SoulCycle LLC, SoulCycle Holdings, LLC, SoulCycle 384 Lafayette

     Street, LLC, SoulCycle 350 Amsterdam              , LLC, SoulCycle 609 Greenwich Street, LLC,

     SoulCycle Bridgehampton, LLC, SoulCycle East 18 th Street, LLC, SoulCycle East 63                    rd
                                                                                                               Street,

     LLC, SoulCycle East Ha mpton, LLC, SoulCycl e Roslyn, LLC, Soul Cycle Scarsdale, LLC ,

     SoulCycle Tribeca, L LC, SoulCycle W est 19th Street, LLC, SoulCycle Brentwood, LLC,

     SoulCycle Santa Monica, LLC, and SoulCycle We st Hollywood, LLC (collectively hereinafter

     “Defendants” or “SoulC ycle”) respectfully submit this Reply Mem orandum of La w in Further

     Support of their Motion to Strike          Portions of Plaintiff’s Am ended Complaint Pursuant to

     F.R.C.P. 12(f), to Sever Plaintiff’s California Clai ms and Parties Pursuant to F.R.C.P. 21 and to

     Dismiss Plaintiff’s Amended Complaint Pursuant to F.R.C.P. 12(b)(6) (“Defendants’ Motion”).1

                                                    ARGUMENT
I.       PLAINTIFF HAS NOT ALLEGED A MINIMUM WAGE CLAIM UNDER NEW
         YORK LAW.
                      Plaintiff's primary argument in opposition to Defendants' Motion to Dism iss his

     minimum wage claim is that NYLL requires empl oyers to pay employees minimum wage for all

     hours worked. W hile that is a true statem ent, that argum ent misses the point of Defendants'

     motion. NYLL §652 does not require that an em              ployee be paid at an hourly rate. Rather it

     requires that the total wages paid to the em ployee are equal to or great er to the applicab le

     minimum wage rate tim es the num ber of hours worked by the em ployee. See NYLL § 190(1)

     (defining wages as “the earnings of an e          mployee for labor services rendered, regardless of

     whether the amount of earnings is determined on a time, piece, commission or other basis”). See

     N.Y. COMP. CODES R. & REGS. (“NYCRR”) tit. 12, § 142-2.16 (“The term                       regular rate shall

     mean the amount that the em ployee is regularly paid for each hour of work. W hen an employee


     1
      A copy of Plaintiff’s Amended Complaint (“Amended Complaint”) is attached as Exhibit “A” to the Declaration of
     William J. Anthony (“Anthony Decl.”) in Support of Defendant’s Motion.

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is paid on … a basis other than ho urly rate, the regular hourly wa ge rate shall be determined by

dividing the total hours worked during the we ek into the employee’s total earnings.”) Here ,

Plaintiff was paid on an "other basis" as specifically allowed for by NYLL § 190(1).

               As Plaintiff concedes, when determ ining whether an employee has been paid

minimum wage under the federal F air Labor Standards Act (“FLSA”), cour ts have divided the

total amount of wages paid to the plaintiff per w eek by the num ber of hours worked per week.

New York courts have consistently held that th e same standards and analysis apply to m inimum

wage claims under the NYLL as under the F         LSA. Lundy v. Catholic Health Sys. Of Long

Island, Inc., 711 F.3d 106, 118 (2d Cir. 2013) (hol    ding that the FLSA and the NYLL use the

same standard in determining liability for minimum wage and overtime pay); see also Severin v.

Project OHR, Inc., 10 Civ. 9696 (DLC), 2012 U. S. Dist. LEXIS 85705, *35 (S.D.N.Y. Jun. 20,

2012) (finding that as putative plaintiffs in a class action were paid $136.95 for each shift totaling

a potential 16 com pensable hours, putative plai ntiff’s rate of com pensation was $8.55 per hour

which was greater than the applicable m inimum wage rate); see also Rodriguez v. Queens

Convenience Deli Corp., 09-cv-1089(KAM)( SMG), 2011 U.S. Dist. LEXIS 120478, *5-8

(E.D.N.Y. Oct. 18, 2011) (calcu lating minimum wage owed under both FLSA and the NYLL by

subtracting the total amount work ed per week from the total of the applicable m inimum wage

rate multiplied by th e total num ber of hours worked in the sam e week). In this case, it is

undisputed that Plaintiff was pa id according to the term s of a written agreement and well known

practice which provided that Plaintiff would be paid each week based on the num ber of classes

taught. Accordingly, the legal issue is whet      her dividing the num ber of hours worked into

Plaintiff's earnings resulted in the minimum wage being earned.

               Plaintiff’s employment agreement, as conceded by him in his Opposition, defined

‘services’ to be pe rformed as the following: teaching a ce rtain number of classes per week,
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attending staff meetings, continuing education sessions, compiling playlists, contributing to the

SoulCycle website, being available for press at SoulCycle’s request and arriving early for class to

set up new riders. See Morris A      ff. Exhibit “1 ;” (Pl. O pp. 4). The language in Plaintiff' s

employment agreement then reads: “[f]or all se rvices to be rendered by [ Plaintiff] in connection

with [Plaintiff’s] e mployment hereunder, [SoulCy cle] shall pay com pensation” on a per-class

basis. Id. (emphasis added). Thus, for all wo rk duties performed, Plaintiff earned com pensation

based on the num ber of classes he taught each          week. Accordingly, to correctly determ ine

Plaintiff’s rate of pay, one m ust calculate the total amount of wages Plaintiff earned per week

(his total number of classes, multiplied by his per class pay) and divide it by the number of hours

Plaintiff alleges he work ed (the number of hours teaching, plus the number of hours perform ing

the additional services enum erated in his employment contract as covered under his per clas s

rate). Plaintiff’s conclusory allegations that his per class pay was only meant to cover 45 minutes

of class tim e, not only directly contradict his em ployment agreement and re gular course of

dealing between Plaintiff and Defendants, but are insufficient to survive a motion to dismiss. See

generally Bell Atl. Corp. v. Twombly, 550 U. S. 544, 555 (2007); Walz v. 44 & X, 12 Civ.

5800(CM), 2012 U.S. Dist. LEXIS 161382, *11 (S.D.N .Y. Nov. 7, 2012) (finding that simply

stating Plaintiffs were not paid for overtim e work does not sufficiently allege a wage and hour

violation). Instead, Plaintiff would need to plead with sp       ecificity how this "oth er basis" of

payment led to him not being paid the m inimum wage, something he has not done nor attem pted

to do. Accordingly, his claim under NYLL §650 et seq. fails as a matter of law.

               Realizing that New York law com promises his legal positio n, Plaintiff asks the

Court to apply California law to his claims. There is no legal basis for doing so and the Court

should decline Plaintiff's invitation in this regard. California courts have held that “the averaging

method used by the federal courts for assessing        a violation of the federal m inimum wage law
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      does not apply to California law-based claim s.” Cardenas v. McLane Foodservices, Inc., 796 F.

      Supp. 2d 1246, 1252 (C.D. Cal. 2011).             In direct contradiction, and as discussed in detail above,

      New York courts have consistently stated that minimum wage claims under the NYLL should be

      analyzed under the same standard as the FLSA. Lundy, Inc., 711 F.3d at 118. Further, New York

      courts have consistently used the federal               averaging method to determ ine minimum wage

      damages. See Severin, 2012 U.S. Dist. LEXIS 85705 at *35; Rodriguez, 2011 U.S. Dist. LEXIS

      120478 at *5-8. Finally, the New York State Depa                     rtment of Labor has         regulated that to

      determine an employee’s regular rate when the em ployee is paid on a basis other than an hourly

      rate, as in the instant case, “the regular hourly rate shall be determined by dividing the total hours

      worked during the week into the employee’s total earnings.” NYCRR § 142-2.16.

                        Accordingly, Plaintiff’s first claim for relief should be dismissed.

II.       PLAINTIFF’S CLAIM OF UNLAWFUL DEDUCTIONS UNDER NYLL §193 IS
          DUPLICATIVE OF HIS CLAIMS FOR MINIMUM WAGE AND SHOULD BE
          DISMISSED FOR THE SAME REASONS.
                        Plaintiff’s Second and Th ird Claims for Relief 2 duplicate Plaintiff’s First Claim

      for relief, namely, by a rguing that Plaintiff wa s not paid wages for tim e worked outside of the
                                                                                     3
      time spent actually teaching clas ses. (Am. Compl. ¶¶88, 94).                      As detailed above, Plaintiff’s

      employment agreement specifies that his per cla ss rate was paym ent for the time spent teaching

      classes as well as all other serv ices in connection with his em ployment as enum erated in the

      2
        To the exte nt Plaintiff’s T hird Claim alleges that De fendants unlawfully deducted the cost of business related
      expenses from Plaintiff’s wages, Defendants will address said argument in the following section.
      3
        Plaintiff’s cited cases in support of his NYLL §193 claim are easily distinguishable from the case at hand. In all, a
      defendant employer failed to p ay a p laintiff alleged incentive compensation and the court needed to determine
      whether such compensation equaled wages under NYLL. See Farricker v. Penson Dev., Inc., 07 Civ. 11191 (DAB),
      2009 U.S. Dist. LEXIS 27484 (S.D.N.Y. Mar. 31, 2009) (holding that per an agreement, plaintiff sufficiently pled a
      §193 claim a s the alleged ‘Participation Payments’ payable at the c ompletion of ce rtain Deals were wages for
      purposes of §193 and accordingly cannot be withheld by t he employer); Al edia v. HSH Nordbank AG, 08 Civ.
      4342 (BSJ), 2009 U.S. Dist. LEXIS 24953 (S.D.N.Y. 2009) (denying employer’s motion to dismiss as it was unclear
      whether plaintiff’s bonus payments, as defined in her contract, had properly vested, and were therefore wages under
      §193); Wachter v. Kim, 920 N.Y.S.2d 66 (1st Dep’t 2011) (reversing lower court’s dismissal of a § 193 claim as
      plaintiff’s salary, wages and bonuses term sheet promised plaintiff a m inimum guaranteed compensation that
      overrode the discretionary nature of the individual pay components.)

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   employment agreement. Accordingly, Plaintiff wa s paid at an above m inimum wage rate for all

   hours he alleges he worked for Defendant. Therefore, as Plaintiff’s Second and Third claims rest

   on his allegations that he was not paid any wa ges, let alone m inimum wage, for hours worked

   outside of class tim e, his claim s fail for the sam e reason above – that, pursuant to his

   employment contract, all hours sp ent performing services and teach ing classes were paid

   pursuant to his per class rate which averages out to significantly above minimum wage.4

III.   PLAINTIFF’S CLAIMS UNDER NYLL FOR EXPENSE REIMBURSEMENTS FAIL
       BECAUSE HE ALWAYS EARNED IN EXCESS OF THE MINIMUM WAGE.
                     It is well-settled under New York l aw that employers do not have to reim burse

   employees for business expenses, including “tools of the trade,” so long as not doing so does not

   reduce the employee’s wage below the minimum wage. See Lin v. Benihana Nat’l Corp., 755 F.

   Supp. 2d 504, 511-12 (S.D.N.Y. 2010) (finding that employers may require employees to bear

   the costs of acquiring and m aintaining the tools of the trade (in Lin, modes of transportation for

   plaintiff delivery people) “so long as those co sts, when deducted from the em ployee’s weekly

   wages, do not reduce their wage to below the required m                  inimum”);5 Maldonado v. La Nueva

   Rampa, Inc., 10 Civ. 8195 (LLS)(JL C), 2012 U.S. Dist. LEXIS 67058, *25 (S.D.N.Y. May 14,

   2012) (holding that “as each of the [p]laintiffs earned below minimum wage, they are entitled to

   a credit for [business related] expenses.”) Plaintiff has provid ed no support for his contention

   that part (a)6of 12 NYCRR § 142-2.10 provides a “blanket protection” and prohibits deductions




   4
     Plaintiff fails to provide any support for his argument that Defendant cannot use ‘piece rate’ p ay (nor does he
   recognize that Defendant’s Motion never states specifically that they are using a piece rate pay). Further, Plaintiff’s
   claims that California law are persuasive here are again without basis, for the same reasons detailed above.
   5
     Plaintiff’s argument that Lin does not apply to the instant case because it was based on a “repealed inapplicable
   restaurant-industry wage regulation” incorrectly focuses on the court’s holding concerning uniform maintenance and
   not on the court’s holding concerning plaintiffs’ tools of the trades, which is applicable to the instant case
   6
     “Wages shall be subject to no deductions, except for allowances authorized in this Part, and except for deductions
   authorized or required by law.”

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                                                                                         7
      for business expenses over and above the protection provided in part (b)               of 12 NYCRR § 142-

      2.10, thereby m aking part (b) supe rfluous. (Pl. Opp. At 13)            Courts have read §142-2.10(a)

      specifically as prohibiting “deductions for spoilage or breakage;… deductions for cash shortages

      or losses; [or im posing] fines or penalties fo r lateness, m isconduct or quitting by an em ployee

      without notice” and have found §142-2.10(b) to prohibit employers from reducing the “minimum

      wage for ex penses incurred by an employee in carrying out duties assi gned by an em ployer.”

      Lewis v. Alert Am bulette Serv. Corp., 11- CV-442(JBW), 2012 U.S. Dist. LEXIS 6269, *14

      (E.D.N.Y. Jan. 19, 2012) (emphasis added).

                      Accordingly, as Plaintiff always ear ned above m inimum wage for all hours

      worked, his conclusory allegations that he was never reimbursed for alleged business expenses

      are not enough to support a claim under the NYLL §193.

IV.       PLAINTIFF HAS FAILED TO PLEAD A CLAIM OF RETALIATION UNDER NYLL
          §215.
                      Plaintiff’s claims for retaliation fail unde r the prevailing case law for the sim ple

      fact that Plaintiff was n ot an em ployee when h e first complained of Defendant’s actions and

      because the act complained of (SoulCycle informing him and his attorney that they are no longer

      allowed to take a SoulC ycle class) would not be considered retaliatory under NYLL § 215. In

      support of his claim, Plaintiff cites to several cases prohibiting post-employment retaliation under

      federal and state anti-discrimination laws. (Pl. Opp. at 15). Such cases are not instructive in the

      instant case. First, unlike NYLL § 215, which specifically provides protection for an “employee”

      who has suffered from retaliation, N.Y. Exec. Law §296(1)(e ) (“NYSHRL” – the New York

      state counterpart to Title VII),      provides protection agains t retaliation against an y “person.”

      Under the canons of statutory inte rpretation, when the legislature uses particular language in one

      7
       “The minimum wage shall be not be reduced by expenses incurred by an employee in carrying out duties assigned
      by an employer.”

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area and different language in another, the presumption is the word choice was in tentional. See

e.g. United States v. Peterson, 394 F .3d 98, 107 (2d Ci r. 2005) (“When Congress uses particular

language in one section of a statute and different language         in another, we presum e its word

choice was intentional”). This is further s upported by Title V II case law which allow s for post-

termination retaliation claim s, whereas, as disc ussed below, wage and hour retaliation claim s

require the complaint to have been made while the plaintiff was e mployed. Accordingly, one

should presume the Legislature in tentionally meant to us e the broader term “individual” in its

anti-retaliation provision under th e NYSHRL, tracking Title VII, and the narrower term

“employee” under NYLL §215.

               The Court should not rely on the outlier holding in Liverpool v. Con-Way, Inc.,

08-CV-4076 (JG)(JO), 2009 U.S. Dist. LEXIS              41349 (E.D.N.Y. Ma y 15, 2009) (denying a

motion to dism iss where plaintiff claim ed defamatory statements about a failed drug test, cost

him future em ployment, were m ade in respon se to p laintiff’s filing for unemployment was

retaliatory under NYLL §215.) Seve ral wage and hour cases, deci ded after Liverpool, in this

Circuit, have specifically held that “[t]o establ ish a prima facie case un der [§215], the plaintiff

must adequately plead that while employed by the defendant , [he] made a complaint about the

employer’s violation of the law and, as a result,       was … subjected to an adverse em ployment

action.” Copantitla v. F iskardo Estiatorio, Inc., 788 F. Supp . 2d 253, 302 (S.D.N.Y. 2011); see

also Paz v. Piedra, 90 Ci v. 03977 (LAK)(GWG), 2012 U.S. Dist. LE XIS 4034, *30 (S.D.N.Y.

Jan. 12, 2012) (finding that plai ntiff must have m ade the com plaint “while em ployed by the

defendant” to establish a prim a facie case); Reilly v. Natwest Markets Group, Inc., 178 F. Supp.

2d 420, 427 (S.D.N.Y. 2011) ( “New York Labor La             w §215(1) applies to retaliatory actions

taken by an employer against an employee”). A ccordingly, because Plaintiff did not m ake his

complaint until after his termination, his retaliation claim fails as a matter of law.
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                       Further, assuming arguendo, Plaintiff’s claim for reta liation could survive the

     deficiencies described above, the alleged retaliatory act, Defendant s’ statement to Plaintiff and

     his counsel that they were no longer permitted at SoulCycle, does not trigger the p rotection of

     NYLL §215. In determ ining whether an acti on is retaliatory under NYLL §215, courts have

     looked to whether the alleged adverse employment action “might have dissuaded a reasonable

     worker from making or supporting similar charges.” Copantitla, 788 F. S upp. 2d at 303. Courts

     have found viable retaliation clai ms where the employer has filed a false crim inal charge against

     the employee, discharged the employee, or reduced the employee’s hours, thereby reducing his

     pay. See Id. at 304-05; Paz, 2012 U.S. Dist. LEXIS 4034 at *33. Plaintiff’s allegations that he

     was kept from attending SoulCycle cl asses does not rise to the level of such retaliation. Further,

     Plaintiff’s claim that his counsel being inform ed that he could no longer take a SoulCycle Class

     would “have a chilling effect” and likely disco urage attorneys from representing employees to

     the extent it may otherwise “inconvenience” their lives is devoid of legal merit.

V.       PLAINTIFF’S CALIFORNIA CLAIMS SHOULD BE SEVERED
                                                                                                  8
                       Plaintiff’s California C laims and the California Defendants                   should be severed

     from the instant action pursuant to F ed. R. Civ. P. Rule 21 i n the interests of judicial economy

     and efficiency. Plaintiff’s own pr oposal of two separate and distin ct classes, with separate and

     distinct legal claims attached to each class, highlights the severability of the claims in question.

                       Despite Plaintiff’s best attem pts to argue otherwise, as shown above, the

     applicable New York law is not significantly similar to the applicable California law. Further, as

     with Plaintiff, each putative class m ember’s terms of employment are likely to be governed by


     8
       Plaintiff's Fifth, Sixth, Seventh, Eighth and Ninth causes of action all involve California law and are collectively
     hereinafter referred to as the “California Claims.” Defendants, SoulCycle Brentwood, LLC, SoulCycle W est
     Hollywood, LLC, and Soul Cycle Santa M onica, LLC (collectively, hereinafter referred to as the “California
     Defendants”) are California corporations.

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individual employment agreements. It is likel y that the putative class m embers of the proposed

California Class, live in Calif ornia. Further, it is lik ely that additional witn esses for the

California claims live in Californi a, where the alleged violations took place. Courts have often

severed the claims of plaintiffs who reside and were injured out of the court’s jurisdiction. S ee

Costello v. Home Depot U.S.A., Inc., 888 F. Supp. 2d 258, 264-66 (D.C onn. 2012) (finding that

the relevant factors, including the substantial factual differen ces between the different plaintiffs,

despite their sharing a jo b description, as well as concerns for jury confusion favored severance

of non-Connecticut claims into separate actions); Wilkes v. Genzyme Corp., Civ. No. WMN-10-

1683, 2011 U.S. Dist. LEXIS 49881 (D. Md. M ay 10, 2011) (finding that even if the differences

in the sub stantive law of the six s tates were minor, the potential for ju ry confusion was great

where plaintiffs alleged wage and hour violations solely under stat e law, on behalf of Plaintiffs

who were employed by Defendant in six different states); Coleman v. Quaker Oats Co., 232 F.3d

1271, 1296-97 (9 th Cir. 2000) (holding that th e district court did not ab use its discretion when it

severed the claims of three of the ten plaintiffs, as, among other reasons, not severing their claims

would lead to potential prejudi ce to the defendants in part due        to legal conf usion as the jury

would have had to evalu ate state law claim s under the d iffering laws of each plaintiff’s state);

Boschert v. Pfizer, Inc., No. 4:08-CV-1714(CAS), 2009 U.S. Dist. LEXIS 41261 (E.D. Mo. May

14, 2009) (granting severance of the non-res ident state plaintiffs, in part because m ultiple sets of

jury instructions would be requ ired to encom pass the laws f rom multiple states); Acevdeo v.
                                                             th
Allsup’s Convenience Stores, Inc., 600 F.3d 516, 522 (5           Cir. 2010) (holding that courts have

considerable discretion in determ ining whether trying claims together w ould be too challenging

logistically in light of the different witnesses and documentary proof required for each putative

plaintiff’s alleged claim.) Plaintiff’s proposed common questions of law and fact alone do not

support a denial of Defendants’      Motion to Sever. See Erau         squin v. Notz, Stucki Mgm t.
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      (Bermuda) Ltd., 806 F. Supp. 2d 712, 722 (S.D.N.Y. 2011) (“Nor is this Court required to deny

      Defendants’ severance motion m erely because there exist som e common question of law and

      fact. The Court of Appeals has never required claims to be litigated together on that basis alone.)

      In light of the above, Defendants w ill suffer prejudice if the California Claims are brought with

      the New Yo rk Claims i n front of a New York jury. Accordingly, severance of all California

      claims, as well as the California Defendants, is appropriate.

VI.      IRRELEVANT AND INFLAMATORY PORTIONS OF PLAINTIFF’S AMENDED
         COMPLAINT SHOULD BE STRICKEN
                     The prejudicial s tatements made in Pl aintiff’s Preliminary Statement serve n o

      purpose but to inflam e the reader an d accuse Defendants of unsavory actions not at issue in the

      instance. (See e.g. Am. Compl. ¶1, alleging Defenda nts mistreated and cheated their custom ers)

      As discussed in further detail in Defendants’     Motion, all such prejudicial and inflammatory

      statements should be stricken. See Morse v. Weingarten, 777 F. Supp. 312, 319 (S.D.N.Y. 1991).

                                               CONCLUSION
                     For the foregoing reasons, Defendants respec tfully submit that this Court should

      (1) sever the California Claim s and Parties, and (2 ) dismiss, with prejudice, Plaintiffs’ first and

      second claims for relief, as to wa ge claims under the NYLL, Plain tiffs’ third claim for relief for

      unlawful deductions under the NYLL, brought on behalf of Plaintiff Nick Oram and the putative

      class members for failu re to s tate a claim and Plaintiff’s tenth claim for re lief for retaliation

      brought on his own behalf for failure to state a cl    aim, and (3) strike the prejudicial portions

      contained within the first Paragraph of the Amended Complaint.




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Dated: September 20, 2013
       New York, New York




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                                      CERTIFICATE OF SERVICE

               I hereby certify that on this 20 thday of August 2013, the foregoing docum ent was
filed with the Clerk of the C ourt and serv ed in acco rdance with the Federa l Rules of Civil
Procedure, and/or the S outhern District’s Local Rules, and/or the Southern District’s Rules on
Electronic Service upon the following parties and participants:

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